Case 1:15-cr-00149-RM Document 303 Filed 12/05/15 USDC Colorado Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Criminal Case No. 15-cr-00149-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.   RAUL CARAVEO,
2.   PAMILA LUCERO,
3.   SABRINA CARAVEO,
4.   EUGENE CHAVEZ,
5.   CAROLINA ARAGON,
6.   CRISTINA PORTILLOS,
7.   CONRAD ARCHULETA, and
8.   NANCY GUZMAN,

       Defendants.



                    GOVERNMENT’S MOTION TO RESTRICT ACCESS
                       TO DOC. 299 LEVEL ONE RESTRICTION


       The United States of America, through Assistant United States Attorney Martha A.

Paluch, hereby requests that Government’s Opposition to Defendant Lucero’s and

Portillos’s Motions for Severance (Docs. 271 and 275), Docket No. 299, be filed under

Level One Restriction, with access restricted to case participants and the Court only, for

the reasons set forth in the Government’s Brief in Support of its Motion to Restrict Access

to Doc. 299.




                                            1
Case 1:15-cr-00149-RM Document 303 Filed 12/05/15 USDC Colorado Page 2 of 3




     Dated this 5th day of December, 2015.



                                     Respectfully submitted,


                                     s/ Martha A. Paluch___________
                                     Martha A. Paluch
                                     Assistant U.S. Attorney
                                     United States Attorney’s Office
                                     1225 17th Street, Suite 700
                                     Denver, CO 80202
                                     (303) 454-0100
                                     Martha.paluch@usdoj.gov




                                        2
Case 1:15-cr-00149-RM Document 303 Filed 12/05/15 USDC Colorado Page 3 of 3




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 5th day of December, 2015, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following e-mail address:

Mr. Martin Stuart                                        Mr. David Owen, Jr.
Counsel for Raul Caraveo                                 Counsel for Conrad Archuleta
mstuart@portmanstuart.com                                davidowen@lodopc.com

Mr. John Schlie                                          Mr. John Sullivan, III
Counsel for Pamila Lucero                                Counsel for Nancy Guzman
johnhenry@schlielawfirm.com                              jfslaw1@aol.com

Ms. Marci Gilligan
Counsel for Sabrina Caraveo
gilligan@ridleylaw.com

Mr. Thomas Ward
Counsel for Eugene Chavez
tward@wardlawdenver.com

Mr. Robert Pepin
Counsel for Carolina Aragon
Robert_Pepin@fd.org

Mr. John Mosby
Counsel for Cristina Portillos
john_mosby@msn.com




                                                          s/ Martha A. Paluch_
                                                          MARTHA A. PALUCH
                                                          Assistant U.S. Attorney
                                                          1225 17th St., Suite 700
                                                          Denver, CO 80202
                                                          Telephone: (303) 454-0100
                                                          Fax: (303) 454-0100
                                                          Martha.paluch@usdoj.gov



                                              3
